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                              UNITED STATES DISTRICT COURT
                                                for the
                                     Southern District of the Indiana

  United States of America                  )
           v.                               )               Case No. 1:17-CR-221-SEB-TAB-14
  Daona Leann Gholston                      )               USM No. 16019-028

                                                                     Mario Garcia
  Date of Previous Judgment:        4/11/2019                        Defendant’s Attorney


         Order for Sentence Reduction Pursuant to Section 603(b) of the First Step Act of 2018

  Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons ☒ the attorney for the
  Government, or ☐ the Court for a modification of the imposed term of imprisonment based on the
  provisions of Compassionate Release, pursuant to 18 U.S.C. § 3582(c), having considered such motion,
  and taking into account the First Step Act of 2018, the factors set forth in § 3553(a), and applicable policy
  statements issued by the Sentencing Commission,

  IT IS ORDERED that the motion is:

  ☐ DENIED ☒ GRANTED and the defendant’s previously imposed sentence of imprisonment (as
  reflected in the last judgment issued) of 30 months is reduced to time served as of August 31, 2020.

  I. COURT DETERMINATION OF SENTENCING PURSUANT TO FIRST STEP ACT OF 2018:

  Previous Sentence Imposed: 30 months on Count 10
  Amended Sentence: Time Served as of August 31, 2020, on Count 10

  Previous Supervised Release Term Imposed: 2 years on Count 10
  Amended Supervised Release Term: 3 years on Count 10

  II. SENTENCE RELATIVE TO AMENDED TERMS:

  ☐ Conditions of supervised release set forth in judgment are to remain in effect.
  ☒ Conditions of supervised release set forth in judgment are to remain in effect, with the following
  modifications:

  As an additional condition of supervised release, the first 6 months of Defendant's supervised release will
  be served under conditions of home incarceration with permission to leave her residence only for verified
  medical appointments and treatment.

  Defendant is further ORDERED to comply with any period of quarantine directed by medical staff and/or
  any state or local health authority.
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  First Step Act of 2018 (Dec. 21, 2018), Application of Fair Sentencing Act

  III. ADDITIONAL COMMENTS:

  Consistent with the parties' August 28, 2020 Stipulation, dkt. 456, the Court finds that Defendant has
  exhausted all administrative rights to appeal with the Bureau of Prisons. The Court also finds that
  extraordinary and compelling reasons warrant a sentence reduction, that Defendant does not pose a
  danger to any other person or the community, and that the sentencing factors in 18 U.S.C. § 3553(a)
  weigh in favor of granting the motion.

  The Bureau of Prisons shall release Defendant from custody no later than August 31, 2020, at 4:00 p.m.

  Defendant shall arrange her own transportation back to Indianapolis, Indiana, upon her release from the
  custody of the Bureau of Prisons.

  Defendant shall make contact with the U.S. Probation Office in the Southern District of Indiana within 72
  hours of her release from the Bureau of Prisons.

  Except as provided above, all provisions of the judgment dated 04/11/2019 shall remain in effect.


  IT IS SO ORDERED.



               8/28/2020
  Order Date: _________________                                            _______________________________
                                                                               SARAH EVANS BARKER, JUDGE
                                                                               United States District Court
                                                                               Southern District of Indiana

  Distribution to all parties of record via CM/ECF

  United States Probation Office
